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                                                                                                FILED
                                                                                                12/23/22 3:03 pm
                                                                                                CLERK
                        IN THE UNITED STATES BANKRUPTCY COURT
                                                                                                U.S. BANKRUPTCY
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                                                                                COURT - :'3$

    In re                                                     Chapter 11

    CLAIM JUMPER ACQUISITION COMPANY,                         Case No. 22-21941-GLT
    LLC, et al.,
                                                              Jointly Administered
                             Debtors. 1
                                                              Doc. No.:

    CLAIM JUMPER ACQUISITION COMPANY,                         Related to Doc. No.: 331
    LLC, et al.,
                                                              Hearing Date: December 22, 2022
                             Movants,
                                                              Hearing Time: 11:00 A.M. (ET)
    v.
                                                              Response Deadline: December 16, 2022,
    No Respondents.                                           at 4:00 p.m. (ET)

                                 MODIFIED
        ORDER (I) ESTABLISHING PROCEDURES WITH RESPECT TO
      FINAL FEE APPLICATIONS; (II) AUTHORIZING THE DEBTORS TO
 MAKE DISTRIBUTIONS TO CLAIMANTS HOLDING ALLOWED PROFESSIONAL
FEE CLAIMS; (III) DISMISSING CERTAIN OF THE DEBTORS’ CHAPTER 11 CASES
     AND PROVIDING PROCEDURES FOR DISMISSAL OF THE REMAINING
     DEBTOR’S CHAPTER 11 CASE; AND (V) GRANTING RELATED RELIEF
            Upon the Debtors’ Motion for Entry of Orders (I) Establishing Procedures With Respect

to Final Fee Applications; (II) Authorizing the Debtors to Make Distributions to Claimants

Holding Allowed Professional Fee Claims; (III) Dismissing the Debtors’ Chapter 11 Cases; and

(VI) Granting Related Relief (the “Motion”)2 for entry of an order, pursuant to sections 105(a),

349, 363(b)(1), and 1112(b) of title 11 of the United States Code (as amended, the “Bankruptcy

1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Claim Jumper Acquisition Company, LLC (0150); Claim Jumper
            Restaurant (Phoenix), LLC (4316); Claim Jumper Restaurant (Sacramento), LLC (7122); Claim
            Jumper Restaurant (Tualatin), LLC (4248); C Jumper Restaurant, Inc. (9351); KRG BHTT, LLC
            (3178); KRG JCS Redondo Beach, LLC (4256); KRG JCS, LLC (5784). The Debtors’ address is
            1000 Jacks Run Rd., North Versailles, PA 15137.
2
            Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
            the Motion.
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Code”), Rules 1017, 2002, and 9013 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), dismissing the chapter 11 cases and granting related relief; and this Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

§ 1334; and consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper in this district pursuant to 28 U.S.C. §§

1408 and 1409; and due and sufficient notice of the Motion having been given under the

particular circumstances; and it appearing that no other or further notice is necessary; and this

Court having determined that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and upon all the proceedings had before this Court; and after

due deliberation thereon; and good and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Pursuant to section 1112(b) of the Bankruptcy Code, the chapter 11 cases of the

following Debtors are hereby dismissed (the “Dismissed Debtors” or the “Dismissed Cases”, as

applicable) effective as of the entry of this Order:

       Case No.                                        Dismissed Debtor

       22-21943                                        Claim Jumper Restaurant (Phoenix), LLC
       22-21944                                        Claim Jumper Restaurant (Sacramento),
                                                       LLC
       22-21945                                        Claim Jumper Restaurant (Tualatin), LLC
       22-21946                                        C Jumper Restaurant, Inc.
       22-21947                                        KRG JCS Redondo Beach, LLC
       22-21948                                        KRG JCS, LLC
       22-21950                                        KRG BHTT, LLC




                                                 -2-
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            3.       The chapter 11 case of Claim Jumper Acquisition Company, LLC (the

“Remaining Case” or the “Remaining Debtor”, as applicable) shall remain open and shall be

administered under the following amended caption:


    In re                                                            Chapter 11

    CLAIM JUMPER ACQUISITION COMPANY,                                Case No. 22-21941-GLT
    LLC
                                                                     Doc. No.:
                                Debtor.1


1.
            The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number, is
            Claim Jumper Acquisition Company, LLC (0150). The Debtor’s mailing address is 1000 Jacks Run Rd.,
            North Versailles, PA 15137.

            4.       Entry of this Order is without prejudice to (a) the rights of the Debtors or any

party in interest to seek to reopen the chapter 11 cases closed hereby and (b) the rights of the

Debtors to dispute, in any appropriate forum, all claims that were filed against the Debtors in the

chapter 11 cases.

            5.       The Court shall retain jurisdiction over the allowance and payment of the fees and

expenses for services rendered by Professionals in respect of the Dismissed Debtors or the

Dismissed Cases, and entry of this Order shall not affect such jurisdiction.

            6.       To the extent there are unpaid administrative expenses due or accrued under the

Approved Budget3 that are not Assumed Liabilities (as defined in that certain Asset Purchase

Agreement by and between the Debtors and Restaurant Lending, LLC, dated December 3, 2022)

and are attributable to the Dismissed Cases but that are not yet paid as of their dismissal, the

allowance and payment of such administrative expenses shall be administered in the Remaining


3
            As such term is defined in the Interim Order (I) Authorizing the Debtors to Obtain Postpetition Financing,
            (II) Granting Liens and Providing Superpriority Administrative Expense Status, (III) Authorizing Use of
            Cash Collateral, and (IV) Granting Related Relief [Doc. No. 272] (the “Interim DIP Order”)

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Case.

        7.     The Expense Reserve Account, Carve-Out, Excluded Cash, and all remaining

proceeds from the DIP Facility (as such terms are defined in the Interim DIP Order) will be held

by the Remaining Debtor.

        8.     The Clerk of this Court shall enter this Order individually on each of the dockets

of the dismissed chapter 11 cases and each of the dockets of the chapter 11 cases of the

Dismissed Debtors shall be marked as “Dismissed.”        The Clerk shall not close the Dismissed

Cases prior to the filing of the December monthly operating reports in each respective case.

        9.     An entry shall be made on the docket of each of the Debtors’ cases, other than

that of the Remaining Case, that is substantially similar to the following:
          An order has been entered in accordance with section 1112(b) of title 11 of the United
          State Code dismissing the chapter 11 cases of: Claim Jumper Restaurant (Sacramento),
          LLC (Case No. 22-21944-GLT); Claim Jumper Restaurant (Phoenix), LLC (Case No.
          22-21943-GLT); Claim Jumper Restaurant (Tualatin), LLC (Case No. 22-21945-GLT); ;
          C Jumper Restaurant, Inc. (Case No. 22-21946-GLT); KRG JCS, LLC (Case No. 22-
          21948-GLT); and KRG BHTT, LLC (Case No. 22-21950-GLT). All further pleadings
          and other papers, other than monthly operating reports, shall be filed in and all further
          docket entries shall be made in the chapter 11 case of Claim Jumper Acquisition
          Company, LLC (Case No. 22-21941-GLT).

        10.    All Professionals shall file in the Remaining Case final fee applications for

Professional Fees twenty-one (21) days after service of the notice of the Final Fee Hearing. Any

objections to the Final Fee Applications shall be filed and served on counsel for the Remaining

Debtor and the Professional submitting the application to which an objection is being filed,

within twenty-one (21) days after the filing and service of the subject Final Fee Application. The

notice of the Final Fee Hearing will include the date provided by the Court for the hearing, if

necessary, on any disputes related to Final Fee Applications. The notice of the Final Fee Hearing

shall be filed on the docket of the Remaining Case and served on all Professionals and the U.S.

Trustee and no further notice shall be required.



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        11.     The Remaining Debtor (i) is authorized to pay allowed Professional Fee Claims,

(ii) authorized to pay any other remaining, allowed administrative expenses under the Approved

Budget (excluding Assumed Liabilities), and (iii) shall file all monthly operating reports and pay

all U.S. Trustee fees in full; provided, however, that any unused cash remaining after payment of

the foregoing fees and expenses shall be remitted to Restaurant Lending, LLC.

        12.     The final monthly operating reports for the Dismissed Debtors for the month of

December 2022, shall be filed in the Dismissed Cases and signed by an authorized representative

of those entities. The Court shall retain jurisdiction over matters arising from the monthly

operating reports. U.S. Trustee quarterly fees shall not be affected on account of the foregoing.

        13.     As soon as reasonably practicable following the completion of the payment of

U.S. Trustee’s fees, payment of allowed Professional Fees, and payment of any other allowed

administrative expenses under the Approved Budget (excluding Assumed Liabilities), the

Remaining Debtor shall file a certification (the “Certification”) of counsel requesting (i) entry of

the Dismissal Order, attached hereto as Exhibit 1, with respect to the Remaining Case, and (ii)

closure of the Dismissed Cases. Among other things, the Certification must report that (a) all

U.S. Trustee fees have been paid in full and all monthly operating reports have been filed; (b) the

Professional Fees incurred in the chapter 11 cases have been approved and paid in full; and (c)

all other allowed administrative expenses set forth in the Approved Budget (excluding Assumed

Liabilities), have been paid in full.

        14.     The Certification shall be served only on the U.S. Trustee, counsel to the DIP

Lender, and the Committee, and no further notice regarding the dismissal of the Remaining Case

shall be required. The Debtors’ creditors and parties in interest have received reasonable notice

of the proposed dismissal through the Dismissal Notice.



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       15.       Objections to the Certification, if any, are due within three (3) days after service

of the Certification (the “Certification Objection Deadline”). If no objections are filed by the

Certification Objection Deadline, the Remaining Debtor may file with the Court a certificate of

no objection requesting entry of the Dismissal Order and the Court may enter the Dismissal

Order without further notice or hearing.        If any party objects to the Certification by the

Certification Objection Deadline, the objection shall be heard at the Court’s next available

hearing unless adjourned upon agreement by the Remaining Debtor and objecting party.

       16.       Notwithstanding any provision of this Order to the contrary, the obligation of the

Remaining Debtor and Dismissed Debtors to file monthly operating reports and to pay quarterly

fees to the U.S. Trustee shall continue until such Debtor’s case is dismissed in accordance with

the provisions of this Order.

       17.       Notwithstanding anything to the contrary, including, without limitation, section

349 of the Bankruptcy Code, all prior orders, releases, stipulations, settlements, rulings, orders

and judgments of this Court made during the course of the chapter 11 cases, including, without

limitation, the Sale Order, the Interim DIP Order, and any Final Order (I) Authorizing the

Debtors to Obtain Postpetition Financing, (II) Granting Liens and Providing Superpriority

Administrative Expense Status, (III) Authorizing Use of Cash Collateral, and (IV) Granting

Related Relief that may be entered in this case, shall remain in full force and effect, shall be

unaffected by the dismissal of the chapter 11 cases of the Dismissed Debtors, and are

specifically preserved for purposes of finality of judgment and res judicata unless expressly

amended or overruled by a subsequent stipulation, settlement, order or judgment of this Court,

as applicable.

       18.       To the extent applicable, Bankruptcy Rules 6004(h) and 6006(d) are waived and

this Order shall be effective and enforceable immediately upon entry.
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       19.     The Debtors are authorized to take any and all actions necessary to effectuate the

relief granted pursuant to this Order.

       20.     This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.



 Prepared by: Daniel Schimizzi, Esq.                  _________________________________
                                                      GREGORY L. TADDONIO
 Dated: December 23, 2022                             CHIEF UNITED STATES BANKRUPTCY JUDGE




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Prepared by: /s/ Daniel R. Schimizzi
Proposed Local
           PAGE  Counsel for Debtors and
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Debtors in Possession                      BY THE COURT:

Dated: _____________,
       December 23    2022
       Pittsburgh, PA                  _____________________________________
                                       ___________
                                                __ ______
                                                ____    _ ________
                                                                _ ____________
                                       Gregory   L.. Taddonio, Chief
                                                yL              Chief Judge
                                       United States Bankruptcy Court




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                                    EXHIBIT 1

                                  Dismissal Order




                                            AR
                                  PL
             E           M
          EX
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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    In re                                                      Chapter 11

    CLAIM JUMPER ACQUISITION COMPANY,                          Case No. 22-21941-GLT
    LLC, et al.
                   Debtor.1                                    Doc. No.:


    CLAIM JUMPER ACQUISITION COMPANY,                          Related to Doc. No.:
    LLC, et al.
                   Movant,                                     Hearing Date:

    v.                                                         Hearing Time:




                                                              AR
    No Respondents.                                            Response Deadline:
                                                 PL
                                          ORDER OF DISMISSAL
            Upon the Debtors’ Motion for Entry of Orders (I) Establishing Procedures With Respect

to Final Fee Applications; (II) Authorizing the Debtors to Make Distributions to Claimants
                                        M

Holding Allowed Professional Fee Claims; (III) Dismissing the Debtors’ Chapter 11 Cases; and
                     E


(VI) Granting Related Relief (the “Motion”)2 that certain Initial Order granting the Motion,
                  EX



entered on ____________________________________, 2023 (D.I.                          ) (the “Initial Dismissal

Order”), and the Certification of Counsel and Request for Entry of an Order Dismissing Chapter

11 Cases, filed on ____________________________________, 2023 (D.I. ),

IT IS HEREBY ORDERED THAT:

            1.      The Motion is GRANTED as set forth herein.



1
            The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification
            number, is Claim Jumper Acquisition Company, LLC (0150). The Debtor’s mailing address is
            1000 Jacks Run Rd., North Versailles, PA 15137.
2
            Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
            the Motion.
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       2.      All objections to the Motion or the relief requested therein that have not been

withdrawn, waived, or settled, and all reservations of rights included therein, are overruled on the

merits and denied with prejudice.

       3.      Pursuant to section 1112(b) of the Bankruptcy Code, the chapter 11 case of the

above-captioned Debtor is dismissed effective as of the entry of this Order.

       4.      Notwithstanding anything to the contrary, including, without limitation, section

349 of the Bankruptcy Code, all prior orders, releases, stipulations, settlements, rulings, orders

and judgments of this Court made during the course of this chapter 11 case, including, without




                                                      AR
limitation, the Sale Order, the Interim DIP Order, and the Final Order (I) Authorizing the

Debtors to Obtain Postpetition Financing, (II) Granting Liens and Providing Superpriority

Administrative Expense Status, (III) Authorizing Use of Cash Collateral, and (IV) Granting
                                         PL
Related Relief [Doc. No. ___], shall remain in full force and effect, shall be unaffected by the

dismissal of this chapter 11 case, and are specifically preserved for purposes of finality of
                                 M

judgment and res judicata unless expressly amended or overruled by a subsequent stipulation,
                E


settlement, order or judgment of this Court, as applicable.
             EX



       5.      Each of the Professional’s retentions is terminated, effective immediately, without

the need for further action on the part of this Court, the Debtor, or such firms. The retention of

the Debtor’s claims agent is likewise terminated, effective immediately, without the need for

further action on the part of this Court or the Debtor. Within twenty-one (21) days of the entry

of this Order, the Debtor’s claims agent shall (a) forward to the Clerk of the Court an electronic

version of all imaged claims, (b) upload the creditor mailing list into CM/ECF, (c) docket a

combined final claims register containing claims against the Debtor and the Dismissed Debtors

(as such term is defined in the Initial Dismissal Order), and (d) box and transport all original



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claims to the Federal Archives, indicating the accession and location numbers of the archived

claims.

          6.   The Debtor is hereby authorized and empowered to take any and all steps

necessary and appropriate to effectuate the terms of this Order.

          7.   To the extent applicable, the 14-day stay to effectiveness of this Order provided

by Bankruptcy Rule 6004(h) is waived and this Order shall be effective and enforceable

immediately upon entry.

          8.   Notwithstanding the dismissal of this chapter 11 case, this Court shall retain




                                                      AR
jurisdiction with respect to any matters, claims, rights or disputes arising from or related to the

implementation, interpretation, or enforcement of this or any other Order of this Court entered in

this chapter 11 case.
                                         PL
Prepared by: /s/ Daniel R. Schimizzi
Proposed Local Counsel for Debtors and
Debtors in Possession
                                 M

                                      BY THE COURT:
                  E


Dated: _____________, 2022
       Pittsburgh, PA
               EX



                                      _____________________________________
                                      Gregory L. Taddonio, Chief Judge
                                      United States Bankruptcy Court




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